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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


IN RE APPLICATION OF HANWEI GUO      Case No. 18 Misc. ______
FOR AN ORDER TO TAKE DISCOVERY
FOR USE IN A FOREIGN PROCEEDING
PURSUANT TO 28 U.S.C. § 1782




             APPLICATION AND PETITION OF HANWEI GUO
                  FOR AN ORDER TO TAKE DISCOVERY
    FOR USE IN A FOREIGN PROCEEDING PURSUANT TO 28 U.S.C. § 1782
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        Petitioner Hanwei Guo, pursuant to 28 U.S.C. § 1782 and Federal Rules of Civil Procedure

26, 34, and 45, respectfully applies to this Court for an order authorizing Petitioner to obtain certain

limited discovery from Deutsche Bank Securities Inc.; J.P. Morgan Securities LLC; Merrill Lynch,

Pierce, Fenner & Smith Incorporated ; and Morgan Stanley & Co. LLC (collectively, the

“Underwriters”) for use in a pending arbitration before the China International Economic and

Trade Arbitration Commission (“CIETAC”). In support of this Application, Petitioner Hanwei

Guo submits a Memorandum of Law and attaches the Declaration of Renita Sharma (the “Sharma

Declaration”), the Declaration of Ruojian Chen, and the Declaration of Hanwei Guo, each with

accompanying exhibits. The Proposed Order is attached as Exhibit 1 to the Sharma Declaration,

and the subpoenas duces tecum to be served on each of the Underwriters are attached as Exhibits

2 through 5 to the Sharma Declaration.

         Dated: New York, New York                         Respectfully submitted,
                December 5, 2018

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